
		
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. MCCOY2023 OK 23Case Number: SCBD-7414Decided: 03/20/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 23, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.

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STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
KASSIE NICOLE MCCOY, Respondent.



ORDER OF IMMEDIATE INTERIM SUSPENSION



¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), forwarded to this Court certified copies of the Sentence Order, Order: Report to Court, County Court Plea Agreement, and Information, in the criminal matter of State of Colorado v. McCoy, Kassie Nicole, Case No. 2022T966, in the District Court of Mesa County, State of Colorado.st), Colorado Code 42-4-1301(1)(a), committed on the 8th day of April, 2022. The Colorado Court accepted Respondent's Guilty plea and sentenced Respondent to a 14 day suspended jail sentence, 12 months of probation, 48 hours of public service, an alcohol evaluation, restitution to the Grand Junction Police Department, and participation in MADD Victim Impact Panel. The OBA received certified copies of the papers and Exhibits 1-4 from the Mesa County District Court on February 21, 2023.

¶2 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules."

¶3 Rule 7.3 of the RGDP provides: "upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court."

¶4 Having received certified copies of these papers and orders, this Court orders that Kassie Nicole McCoy is immediately suspended from the practice of law. Kassie Nicole McCoy is directed to show cause, if any, no later than April 17, 2023, why this order of immediate interim suspension from the practice of law should be set aside. See Rule 7.3, RGDP. The OBA has until May 1, 2023, to respond.

¶5 Pursuant to Rule 7.4 of the RGDP, Kassie Nicole McCoy has until April 17, 2023, to show cause in writing why a final order of discipline should not be made.

The written return shall be verified and expressly state whether a hearing is desired. The lawyer may, in the interest of explaining the conduct or by way of mitigating the discipline to be imposed, file a brief and/or any evidence tending to mitigate the severity of discipline. The OBA has until May 1, 2023, to respond.

¶6 DONE BY ORDER OF THE SUPREME COURT this 20th day of March, 2023.


/S/VICE CHIEF JUSTICE



CONCUR: Rowe, V.C.J., Kauger, Winchester, Edmondson, Combs, Gurich, Darby and Kuehn, JJ.


NOT PARTICIPATING: Kane, C.J.


FOOTNOTES


State of Oklahoma v. Kassie Nicole McCoy, CM-2021-235, in Rogers County. A Notice of Criminal Conviction was filed with this Court on May 19, 2021, and an Order dismissing for insufficient cause to proceed with a Rule 7 proceeding was filed by this Court on November 1, 2021. See SCBD No. 7057. On June 21, 2022, a bench warrant was issued for Respondent in CM-2021-235 and as of today's date the warrant remains active.




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